          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                   CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                         ORDER
                          )
                          )
R. MICHAEL GEE.           )
                          )

     THIS MATTER is before the Court on the Defendant Gee’s Motion to

Sequester Witnesses and Incorporated Memorandum of Law [Doc. 99],

filed October 15, 2008.

     This motion seeks a ruling that witnesses be sequestered during the

trial of this action. Such motions are more appropriately raised either on

the morning of trial or immediately prior thereto and only then when the

parties are not able to reach a stipulation concerning the same.

     IT IS, THEREFORE, ORDERED that the Defendant Gee’s Motion to

Sequester Witnesses and Incorporated Memorandum of Law [Doc. 99] is

hereby DENIED as premature.




                                     Signed: February 18, 2009


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